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22      Ijmm Xfoh, GQS, SNS, DSS, DNST, DQF, DSJ, b Opubsz
23      Qvcmjd jo boe gps uif Tubuf pg Gmpsjeb bu Mbshf,
24      qvstvbou up Efgfoebout' Opujdf pg Ubljoh Efqptjujpo jo
25      uif bcpwf dbvtf.

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                                                        Page 2                                                       Page 4
 1 APPEARANCES:                                                   1   THEREUPON:
 2 On behalf of Plaintiff:
   A. MICHAEL WEBER, ESQ.                                         2               MELANIE FAVA,
 3 Littler Mendelson, P.C.                                        3   was called as a witness and, having been first duly
   900 Third Avenue
 4 New York, NY 10022-3298
                                                                  4   sworn, and responding "I do," was examined and
   mweber@littler.com                                             5   testified as follows:
 5                                                                6              DIRECT EXAMINATION
   On behalf of Defendants:
 6 LERON THUMIM, ESQ.                                             7   BY MR. THUMIM:
   MARTIN S. SIEGEL, ESQ.                                         8      Q. Ms. Fava, my name is Leron Thumim.
 7 Golenbock Eiseman Assor Bell & Peskoe LLP
   711 Third Avenue
                                                                  9   I'm from the law firm of Golenbock Eiseman Assor
 8 New York, NY 10017                                            10   Bell & Peskoe, New York. I'm here on behalf of
   lthumim@golenbock.com                                         11   the defendants in this case and I'll be taking
 9 msiegel@golenbock.com
10 LYLE SHAPIRO, ESQ.                                            12   your deposition today.
   Herskowitz Shapiro LLP                                        13          Have you ever been deposed before?
11 9100 S. Dadeland Boulevard
   Suite 908
                                                                 14      A. Yes.
12 Miami, FL 33156                                               15      Q. How many times?
   lyle@hslawfl.com                                              16      A. Once.
13
14 Also present: Amy Tree                                        17      Q. About how long ago was that?
15          Matthew DiGregorio                                   18      A. 30 years ago.
16
17
                                                                 19      Q. What kind of case was it?
18                                                               20      A. Medical malpractice case.
19                                                               21      Q. Do you remember -- at that deposition
20
21                                                               22   do you remember what the purpose of -- I guess
22                                                               23   remember what it was like being deposed?
23
24
                                                                 24      A. Yes.
25                                                               25      Q. So it's a long time ago. Before we
                                                        Page 3                                                       Page 5
 1            INDEX                                               1   begin I'm going to go over some ground rules and
 2 WITNESS                          PAGE                          2   expectations just so we have the same
 3 Melanie Fava                                                   3   understanding.
 4 Direct Examination by Leron Thumim              4              4          Is that okay?
    Cross-Examination by Michael Weber            55              5      A. Uh-huh.
 5 Redirect Examination by Leron Thumim            56             6      Q. So in this deposition I will be asking
 6                                                                7   you questions and your answers will be recorded
 7                                                                8   by the court reporter. You will need to speak
 8            EXHIBITS                                            9   loudly enough so that the court reporter can
 9 NUMBER       DESCRIPTION                      PAGE
                                                                 10   hear you, and you'll need to give verbal
10 Exhibit 1 Declaration               29
                                                                 11   responses, so no nods, gestures or even sounds
11
                                                                 12   like "uh-huh" so that the transcript accurately
12
                                                                 13   reflects your response.
13
                                                                 14          Understood?
14
                                                                 15      A. Yes.
15
16
                                                                 16      Q. Any questions about that?
17                                                               17      A. Nope.
18                                                               18      Q. Likewise, to make sure the transcript
19                                                               19   is clear, we can't talk over each other. So
20                                                               20   that means that it's important you wait until I
21                                                               21   finish my question before you begin answering.
22                                                               22          Even if you think you know how my
23                                                               23   question is going to end, please wait until I'm
24                                                               24   done anyway. Make sense?
25                                                               25      A. Yes.

                                                                                                         2 (Pages 2 - 5)
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                                               Page 6                                                      Page 8
 1      Q. If you don't understand a question,           1      Q. Without going into what you discussed
 2   please feel free to ask for clarification.          2   on the meeting, were there any documents that
 3   Otherwise, let me ask the questions.                3   you reviewed that refreshed your recollection?
 4      A. Okay.                                         4      A. Just the -- I guess it's an affidavit.
 5      Q. You just took an oath to tell the             5      Q. The declaration?
 6   whole truth and nothing but the truth.              6      A. Declaration. That's it.
 7          Do you understand what that means?           7      Q. No other documents?
 8      A. Yes.                                          8      A. No.
 9      Q. And do you understand that's the same         9      Q. Did you talk about this case with
10   oath that you would give if you were in court in   10   anybody else involved in the case?
11   front of a judge?                                  11      A. No.
12      A. Yes.                                         12      Q. Did you talk to -- talk about the case
13      Q. So the goal of this deposition is for        13   with any of the other -- you know other people
14   us to find out everything you know that's          14   submitted declarations too, right?
15   relevant to this lawsuit, and for that reason we   15      A. Yes.
16   need complete and full answer to the questions I   16      Q. Did you talk about the case with any
17   ask. In other words, looking for the whole         17   of them?
18   truth.                                             18      A. No.
19          Understood?                                 19      Q. Did you talk with Cory Lynn about your
20      A. Yes.                                         20   declaration?
21      Q. From time to time your lawyer may            21      A. No.
22   object to questions that I ask. You understand     22      Q. About your deposition today? Did you
23   that unless he tells you not to answer my          23   talk with Cory Lynn about your deposition today?
24   question, you still have to answer?                24      A. No.
25      A. Yes.                                         25      Q. Are you familiar with this lawsuit?
                                               Page 7                                                      Page 9
 1      Q. At reasonable intervals we may take a         1      A. Yes.
 2   break. If at some point you need to take before     2      Q. What do you know about it?
 3   then, let us know and we'll try to take a break     3      A. That three people from the Sunrise
 4   as soon as that line of questioning ends.           4   office left and presumed violation of their
 5      A. Okay.                                         5   noncompete.
 6      Q. Have you taken any drugs or medication        6      Q. How did you first learn about the
 7   that would make it difficult for you to             7   lawsuit?
 8   understand and answer my questions today?           8      A. Cory called me and -- well, Cory
 9      A. No.                                           9   called and told me that they had left and that I
10      Q. Is there any other reason that you           10   would be assuming two accounts, and that Amy
11   cannot provide complete and accurate testimony     11   would be in contact with me to tell me who those
12   today?                                             12   accounts were.
13      A. No.                                          13          I didn't find out about the actual
14      Q. What did you do to prepare for today's       14   lawsuit until the -- our attorney had called me
15   deposition?                                        15   and told me.
16      A. Via telephone I met with our attorneys       16      Q. Are you familiar with Lockton?
17   and just told them what I knew about the case.     17      A. Yes.
18      Q. Did you meet with anyone in person?          18      Q. You know Lockton is one of the
19      A. No.                                          19   defendants in this lawsuit also?
20      Q. How many times did you meet with your        20      A. Yes.
21   attorneys?                                         21      Q. What do you know about Lockton?
22      A. Twice.                                       22      A. They are a competitor, and I know a
23      Q. For how long?                                23   few people that work over at Lockton.
24      A. About a few minutes, about 15 minutes        24      Q. So you knew about Lockton before the
25   a call.                                            25   lawsuit?

                                                                                                3 (Pages 6 - 9)
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                                               Page 10                                                     Page 12
 1      A. Yes.                                           1   that entailed?
 2      Q. You also knew of Lockton before Matt,          2      A. It was managing, hiring, retention,
 3   Joanne and Jada left for Lockton?                    3   sales, new sales.
 4      A. Yes.                                           4      Q. When you left Willis in 2012, where
 5      Q. So just to go over some brief overall          5   did you go?
 6   background. If you could just give me a brief        6      A. I started my own practice. So I
 7   summary of your educational background,              7   became an independent consultant, and I was
 8   beginning with college.                              8   contracted with an organization called Insurance
 9      A. I have a bachelor's degree in                  9   Office of America.
10   technology and management, business management,     10      Q. At that point you were, I guess,
11   in Orlando at University of Phoenix. And I have     11   self-employed?
12   a license to practice -- 218 license for            12      A. Correct. I was a contracted
13   insurance.                                          13   consultant.
14      Q. Where did you work, I guess after             14      Q. Did you have your own LLC?
15   college?                                            15      A. Corporation.
16      A. I originally started at Marsh. I was          16      Q. What was the name of that?
17   there for about six years.                          17      A. Melanie Fava Inc. I wasn't very
18      Q. And when was that, about when to when?        18   creative.
19      A. I actually started there in 1999.             19      Q. It works. It gets the job done.
20      Q. You were there until when?                    20          How long were you doing that for?
21      A. Around 2005.                                  21      A. Seven years. '12 up until 2017, so I
22      Q. When you left Marsh where did you go?         22   guess almost six years.
23      A. Willis.                                       23      Q. Then that's when you went to Mercer?
24      Q. I'm sorry. Let me back up.                    24      A. Correct.
25          At Marsh, what was your role?                25      Q. How did you come to work at Mercer?
                                               Page 11                                                     Page 13
 1      A. I started out as consultant. When I            1      A. I was looking to get out of running my
 2   left I managed the benefits practice.                2   own business and I just wanted to go and sell
 3      Q. Marsh is a broker?                             3   again and manage a book of business. So I was
 4      A. Yes. It's part of the Mercer family,           4   very familiar with Mercer, being that I worked
 5   yeah.                                                5   with them before, highly reputable and just
 6      Q. The role that you had when you left,           6   decided to pursue to see if they had any
 7   was that involved in -- was that -- in what way      7   openings and they did.
 8   is that similar, I guess, to the role that you       8      Q. Were there any people you had been in
 9   have now?                                            9   contact with at Mercer since your time at Marsh?
10      A. A little different. I was in more of          10      A. Yes.
11   a management role back then. So now I'm a           11      Q. Who were you in touch?
12   producing consultant.                               12      A. John Cooney.
13      Q. And you left to Willis, I guess, about        13      Q. What is his title?
14   '05?                                                14      A. I'm not sure, actually. He's a
15      A. I started -- yeah. I opened the               15   partner.
16   practice for Willis, benefits practice in           16      Q. He's also involved in selling
17   Orlando in 2005, and I was there until -- I         17   services?
18   guess it's seven years.                             18      A. Yeah. Primarily resources and sales.
19      Q. Around 2012?                                  19   So he introduces other disciplines to clients,
20      A. Yes.                                          20   outside of like what I would normally do, just
21      Q. What was your title when you were at          21   benefits. He would do -- introduce other
22   Willis?                                             22   resources.
23      A. When I was at Willis? Benefits                23      Q. What position -- or what title did you
24   practice leader of Orlando.                         24   have when you started at Mercer?
25      Q. And your role -- can you describe what        25      A. Producing consultant.

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                                                 Page 14                                                  Page 16
 1      Q. What does that entail?                           1   recall. I don't believe I did.
 2      A. Retention, new business.                         2       Q. Jada Preston. Do you know what her
 3      Q. Is that also a principal?                        3   title was?
 4      A. It is, correct.                                  4       A. Client manager. She was responsible
 5      Q. Does anybody also have the producing             5   for retention.
 6   consultant title?                                      6       Q. Did you ever work with her?
 7      A. I don't believe so in the state of               7       A. No.
 8   Florida. But yes, in the country there is, yes.        8       Q. Did you have any interaction with her
 9      Q. Who hired you when you came to Mercer?           9   before?
10      A. Cory Lynn.                                      10       A. No.
11      Q. So let's talk a little bit about other          11       Q. Cory Lynn. Do you know what his title
12   people at Mercer you might -- who are involved        12   is?
13   in the suit you might know, what your connection      13       A. Practice leader.
14   with them might be.                                   14       Q. What is your understanding of what
15          So first, Matt DiGregorio. Do you              15   that job entails?
16   know what Matt's title was?                           16       A. He manages the state of Florida for
17      A. Sales.                                          17   employee benefits.
18      Q. In what way did your -- I guess did             18       Q. How often, I guess, do you interact
19   your role -- in what way is your role different       19   with him on a daily basis, weekly basis?
20   than his?                                             20       A. Probably monthly.
21      A. I also have retention                           21       Q. Monthly.
22   responsibilities. He only had sales. So I             22          So let's talk a little bit more about,
23   would sell and then I also have to manage the         23   I guess, your role. So in your declaration,
24   book.                                                 24   which we'll talk about in a second, you have
25      Q. So your role encompassed his role and           25   described your role and used a couple of
                                                 Page 15                                                  Page 17
 1   then some?                                             1   phrases. I just want to unpack them a little
 2      A. Correct.                                         2   bit.
 3      Q. And in what way did you, I guess,                3          One thing you say is you manage client
 4   interact with him professionally? Did you work         4   relationships. What do you mean by that?
 5   together on things?                                    5      A. So I have one consultant that works on
 6      A. No.                                              6   my team. I'm the lead consultant. So I will
 7      Q. Never on any situation?                          7   meet with the clients, typically on a quarterly
 8      A. I met him twice, I think, at sales               8   basis, if not more frequently, and responsible
 9   meetings, so in a group environment. Not               9   for making sure that the scope of work is
10   really -- didn't really have like a lot of            10   adhered to and that any additional resources
11   one-on-one interaction.                               11   that we need to bring to the table are
12      Q. You had no direct -- you didn't work            12   introduced.
13   together on any project of any kind?                  13      Q. So the consultant on your team, are
14      A. No.                                             14   you that consultant's supervisor?
15      Q. How about Joanne Steed, do you know             15      A. Indirectly. So she -- down the line
16   what her title is?                                    16   to me but no, she actually reports to somebody
17      A. I don't.                                        17   in Tampa.
18      Q. Did you work on anything with her?              18      Q. Is there anyone that you are a
19      A. No.                                             19   supervisor for?
20      Q. Did you interact with her at all                20      A. No.
21   really at Mercer?                                     21      Q. And do you have a direct supervisor?
22      A. No.                                             22      A. Would be Cory.
23      Q. Did you know who she was before I               23      Q. You said generating new client
24   guess she left in early January?                      24   business. Is that just referring to trying to
25      A. I may have met her once, but I don't            25   bring in new clients?
                                                                                              5 (Pages 14 - 17)
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                                               Page 18                                                    Page 20
 1      A. Correct.                                       1   contact list, how far back does it go?
 2      Q. Maintaining and growing business, is           2       A. When I started at Mercer.
 3   that the fact we talked about earlier in             3       Q. Within the last two years or do you
 4   servicing them and retention?                        4   have a contact list that you had that goes
 5      A. Yes.                                           5   further back?
 6      Q. Primary client contact for clients and         6       A. No. Well, no. My contact list
 7   address day-to-day client needs, what does that      7   started when I started at Mercer. So as far as
 8   mean? Unpack -- on a day-to-day basis, what          8   what's on the Mercer contacts, yes.
 9   would you likely do for clients?                     9       Q. Do you have a separate contact list
10      A. Well, we'll do their -- work on their         10   that predates Mercer?
11   financials. We'll work on any wellness              11       A. Well, my previous contacts that I had
12   programs. We'll work on if they have claims,        12   if there's still something I'm working on that
13   advocacy issues. We'll work with the                13   I've incorporated them into the Mercer database.
14   administrators and the carriers as their liaison    14       Q. So you've incorporated -- you've
15   on any outstanding issues or -- and again,          15   entered your previous contacts --
16   introduce cost saving techniques to help            16       A. Correct.
17   mitigate their renewals.                            17       Q. Got it.
18      Q. Are there any clients with whom you           18          When did that list that you
19   have a -- you've built, I guess, a personal         19   incorporated, when did you begin compiling that?
20   relationship, you know, that's not exclusively a    20       A. Probably December of 2016.
21   professional one anymore?                           21       Q. Do you have any list contact that goes
22      A. Yes.                                          22   back even further to, let's say, when you were
23          MR. WEBER: Can you be a little more          23   at Marsh?
24      specific?                                        24       A. No. I wouldn't think so, unless
25      Q. Anyone who you're -- you know, if you         25   they're still a client.
                                               Page 19                                                    Page 21
 1   stopped working tomorrow, anyone you'd still be 1           Q. In your contact list, is there a place
 2   friends with, in other words?                   2        to put notes about clients?
 3      A. Yes.                                      3           A. Yes.
 4      Q. Is that something that other people at    4           Q. What do you -- what, if anything, do
 5   Mercer sometimes do in terms when they build 5           you put in that space?
 6   client relationships?                           6           A. I don't typically use that.
 7      A. I can't comment. I work in Orlando by     7           Q. Do you have any information in your
 8   myself. I don't know what everybody else's      8        contact list about client pricing?
 9   relationship is.                                9           A. No.
10      Q. Do you have any sense of whether         10           Q. Or any specific details about clients,
11   that's something that Mercer generally         11        beyond contact information?
12   encourages or discourages or is neutral about? 12           A. No.
13      A. I would presume neutral.                 13           Q. Does your contact list include any
14      Q. In your experience, can it be good for   14        personal, in other words, not in any way related
15   business to build personal relationships with  15        to business contacts, like friends or family?
16   clients?                                       16           A. No. It might have a couple of my like
17      A. Yes.                                     17        reward passwords.
18      Q. Do you have a list of contacts in,       18           Q. Fair enough.
19   let's say, Outlook or otherwise?               19               So you're responsible in part for, I
20      A. Yes.                                     20        guess, identifying new prospective clients.
21      Q. What information is on your contact      21               What kind of strategies do you use to
22   list?                                          22        identify new clients to originate new business?
23      A. Title -- name, title, company, phone     23           A. Well, I've been in business for a
24   number, addresses.                             24        while, so I work a lot off referrals. Or if I'm
25      Q. When did you begin compiling that        25        doing cold prospecting, I'll use a database
                                                                                             6 (Pages 18 - 21)
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 1   called -- that you pull up Schedule As or 5500s 1         for it?
 2   to pull up information about clients.             2          A. I pay for it myself.
 3      Q. What do you use to access -- you said       3          Q. In addition to 5500, what other
 4   "database." Is there an actual --                 4       information does it compile?
 5      A. Yeah. So I subscribe on a monthly           5          A. That's it. It's a 5500 database.
 6   basis to a database that -- it's called Biz.com,  6          Q. And earlier you were talking about how
 7   I think, something like that.                     7       a lot of your origination comes through
 8      Q. One of the forms you mentioned, 5500s, 8            referrals and networking.
 9   what are those?                                   9               Are there any websites you use for
10      A. They're -- 5500s are a required filing     10       networking purposes?
11   for any ERISA plan that has employees over 100 11            A. LinkedIn.
12   employees. And so you can find out information 12            Q. That's what I thought.
13   as to what the premium is, typically sometimes 13                 How many clients -- are there clients
14   commissions and who the carrier relationships 14          that you have not originated but that you are
15   are and the contacts at each prospect.           15       involved in helping to retain?
16      Q. So you could use a 5500 form to find       16          A. Yes.
17   out, I guess, what kinds of services a           17          Q. How many clients fall into that
18   prospective client might need?                   18       category?
19      A. I don't know about services. You can       19          A. Two.
20   find out what they have historically put in      20          Q. What do you do to help retain them?
21   place from a carrier perspective.                21          A. I do the day-to-day -- not the
22      Q. And that could help you identify who       22       day-to-day, but I'll do the overall client
23   might be a good target to try and sell to?       23       management with a client team and other
24      A. Sometimes. I typically use it just so      24       resources.
25   I can go in with knowledge to say I know this    25          Q. That's what would be called servicing,
                                                Page 23                                                  Page 25
 1   about you. But it doesn't really get into that        1   right?
 2   much detail as to what kind of services they're       2      A. Correct.
 3   looking for.                                          3      Q. So for how many clients are you the
 4      Q. What kind of services do you sell to            4   relationship manager?
 5   clients?                                              5      A. Five.
 6      A. Health and welfare consulting.                  6      Q. Are there clients that are -- that you
 7      Q. Do any of your clients use more than            7   consider, I guess, yours or that you have some
 8   one company to provide the kinds of services          8   credit for that don't have a relationship
 9   that you sell?                                        9   manager?
10      A. Not currently.                                 10      A. I'm not sure I understand.
11      Q. But historically you have had clients          11      Q. I think earlier today someone said
12   that have used more than one company to provide      12   that some clients are small, don't necessarily
13   the kinds of services that you provide?              13   have a relationship manager at all.
14      A. Yes.                                           14          MR. WEBER: Objection to the form of
15      Q. Have you ever had a client that was            15      the question.
16   both your client and a client of Lockton?            16      Q. So I guess the question is, are there
17      A. No.                                            17   any clients that, I guess, you originated or
18      Q. Briefly go back on Biz.com.                    18   that you're the primary contact for but that
19          How long have you had that                    19   don't have a relationship manager at all?
20   subscription for?                                    20      A. As far as -- all of the clients that
21      A. Six years, at least.                           21   are assigned have a relationship manager, but --
22      Q. Do you recall roughly how much it is a         22   yeah. But I'm not sure they have a
23   much?                                                23   relationship. But in the database they have a
24      A. $50.                                           24   relationship manager assigned.
25      Q. Do you pay yourself or does Mercer pay         25      Q. How many clients, I guess current
                                                                                             7 (Pages 22 - 25)
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 1   clients, of Mercer were you responsible for          1   working on it so that your prospect isn't taken
 2   bringing into Mercer?                                2   away.
 3      A. Five.                                          3      Q. So what would prompt you, let's say,
 4      Q. For the two clients that you're                4   to enter a certain contact into Salesforce?
 5   involved in servicing that you didn't originate,     5      A. New relationship or progress with the
 6   who assigned those clients to you to service?        6   relationship.
 7      A. Cory or Amy. I don't know. Amy told            7      Q. Would you enter someone into
 8   me about -- when the two -- when the team left       8   Salesforce you just met with?
 9   about the two. I assume it was Cory that gave        9      A. Yes. If they're not already in there
10   the directive. And then I have one -- that          10   and assigned to somebody.
11   actually one client is not there. The other         11      Q. Would you enter someone into
12   client Cory did.                                    12   Salesforce that you haven't yet met with but you
13      Q. So just to clarify. So the two -- the         13   had some other way of making connection with
14   only two clients that you have that you service     14   them?
15   but did not originate are two that came over in     15      A. I haven't, but I can see where people
16   the last month or so after Matt, Joanne and Jada    16   would if it's not assigned to anybody.
17   have left?                                          17      Q. So in other words, somebody might be
18      A. Well, I don't technically count the           18   entered into Salesforce if they aren't at the
19   one because I hadn't even met them. So they         19   point yet where you're about to prepare a pitch
20   were here -- they were assigned to me and then      20   for them?
21   they were gone within two weeks.                    21      A. Yes. If it's not assigned to
22      Q. The point is, there's no others --            22   somebody, then you want to make sure that it is
23      A. Correct.                                      23   before you prepare the pitch.
24      Q. That's what I meant.                          24      Q. Does entering, I guess, prospective
25          And I guess when somebody has a client       25   clients into Salesforce impact, I guess, who
                                               Page 27                                                     Page 29
 1   that they've either originated or they service,      1   gets origination credit for a client?
 2   is there some kind of origination credit that        2       A. It can. Yeah.
 3   they get for that that impacts their                 3       Q. So is it fair to say it's an incentive
 4   compensation?                                        4   to try to put as many clients into the
 5      A. Yes.                                           5   Salesforce as you reasonably can?
 6      Q. And what's the total number of clients         6       A. Yes.
 7   that you have some kind of origination credit        7       Q. One of the declarations that was
 8   for?                                                 8   submitted in this case by Cory Lynn says that
 9      A. Five.                                          9   Matt's Salesforce data was pulled and he had
10      Q. I will ask a few questions about              10   colleagues go through it.
11   Salesforce.                                         11           Were you involved at all in going
12          Do you know what Salesforce is?              12   through Matt's Salesforce data?
13      A. Yes.                                          13       A. No.
14      Q. What is Salesforce?                           14       Q. Now, finally, I'm going to put your
15      A. Salesforce is the database that the           15   declaration -- I'm going to mark this as Fava1.
16   salespeople use to either track communication       16   It's a copy of the declaration that you signed
17   with a client or to look up information about a     17   and filed in support of Mercer's motion for a
18   specific client or prospect.                        18   temporary restraining order.
19      Q. Do you use it?                                19           (Thereupon, Declaration was marked as Exhibit
20      A. Yes.                                          20   1 for identification.)
21      Q. And why do people generally use               21       Q. Have you seen this before?
22   Salesforce? What's the purpose of it?               22       A. Yes.
23      A. Really to track progress on prospects         23       Q. When did you first see it?
24   and to make sure that other people that -- to       24       A. I don't know the dates. Probably last
25   make sure that they understand that you're          25   week, the day I signed it, February 26.

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                                                 Page 30                                                    Page 32
 1       Q. Who prepared this affidavit --                  1   specific Lockton entity you just meant Lockton
 2   declaration?                                           2   in general, right?
 3       A. I believe Sean.                                 3      A. Lockton in general.
 4       Q. Before it was prepared, did you                 4      Q. And you don't know anything about
 5   discuss -- not going into the details of your          5   Lockton's corporate structure one way or the
 6   conversation, did you discuss generally the            6   other?
 7   facts with your attorneys?                             7      A. No.
 8       A. Yes.                                            8      Q. How did you learn that Steed and
 9       Q. Do you recall signing it?                       9   Preston resigned?
10       A. Yes.                                           10      A. Same call.
11       Q. Do you intend to prepare any other             11      Q. And that they began working at
12   declaration at this point?                            12   Lockton?
13       A. No.                                            13      A. Yes.
14       Q. Let's go through the declaration a             14      Q. Same call.
15   little bit. Let's start with paragraph 3 where        15          So when you discussed their leaving
16   it says: On January 17th you learned that Matt        16   with Cory, did you discuss with Cory reaching
17   DiGregorio, Joanne Steed and Jada Preston             17   out to prospective clients -- to current clients
18   resigned their positions at Mercer to begin           18   that had been working with Matt, Joanna or Jada?
19   working at Lockton Companies.                         19      A. No.
20           So first question is, how did you             20      Q. The two clients that he assigned to
21   learn that Matt resigned his position?                21   you that had been theirs or one of theirs, did
22       A. Cory.                                          22   you discuss any strategy for how to approach
23       Q. How did that happen? Did Cory call             23   those clients?
24   you or e-mail you?                                    24      A. No.
25       A. Called.                                        25      Q. Did he ask you to in any way, shape or
                                                 Page 31                                                    Page 33
 1      Q. And what did Cory say?                           1   form reach out to them?
 2      A. That they had left and that they have            2      A. Well, during that call it wasn't -- no
 3   some cases that need to be reassigned and that         3   cases were assigned. He just said they would
 4   two of the cases would be assigned to me and my        4   be.
 5   team, and that Amy would be getting in contact         5      Q. He said there would be two cases
 6   with me over the next couple of days to tell me        6   assigned to you?
 7   who they are.                                          7      A. Correct.
 8      Q. When you say "you and your team," who            8      Q. And did he specify which two?
 9   else is part of your team?                             9      A. No.
10      A. Jenn Legenhausen.                               10      Q. He said Amy would be in touch?
11      Q. And she is a consultant you mentioned           11      A. Correct.
12   earlier.                                              12      Q. Got it.
13      A. Correct.                                        13          So on the next paragraph on the same
14      Q. Anybody else?                                   14   day you had a call from -- this is the same call
15      A. No.                                             15   that -- paragraph 3 and 4 really refer to the
16      Q. Was anyone else on the call where Cory          16   same exact call; is that right, or is that --
17   told you about Matt leaving?                          17   actually, let me back up.
18      A. No.                                             18      A. That was the same call.
19      Q. How did you learn that Matt went to             19      Q. The paragraph 4 says: That same day
20   work at Lockton?                                      20   you received a call informing you that you're
21      A. Cory told me.                                   21   inheriting two clients, Caregiver Services and
22      Q. Same call?                                      22   Planned Parenthood.
23      A. Uh-huh.                                         23          But that call, just to clarify, is not
24      Q. And you say he went to work at Lockton          24   the call you actually found out the identity of
25   companies. Just to confirm, you didn't mean a         25   those clients?
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                                               Page 34                                                    Page 36
 1      A. Correct.                                       1      Q. Why was that client given to you?
 2      Q. That didn't happen until a couple days         2      A. Conflict of personalities with the
 3   later?                                               3   prior team.
 4      A. Until I received an e-mail from Amy            4      Q. And is that still a client that you
 5   telling me who the clients were.                     5   service?
 6      Q. And that was -- when was that? Same            6      A. Yes.
 7   day or a couple days later?                          7      Q. Prior to finding out that you would be
 8      A. It was a probably a day or two later.          8   servicing Planned Parenthood, had you had any
 9      Q. And did you -- you received an e-mail          9   relationship with Planned Parenthood beforehand?
10   from Amy informing you of that?                     10      A. No.
11      A. Correct.                                      11      Q. Same question for Caregiver Services,
12      Q. Did you have a follow-up phone call           12   had you had any prior relationship with them
13   with Amy or anybody else?                           13   beforehand?
14      A. No. She just gave me the contact              14      A. No.
15   information and I reached out to the clients.       15      Q. What did you know about the
16      Q. Was there anything other than the             16   relationship between, I guess, contacts at
17   contact information in that e-mail?                 17   Planned Parenthood and their prior contacts at
18      A. Just some information about the               18   Mercer?
19   client, but...                                      19          Do you know who their prior Mercer
20      Q. Did she ask you to reach out to them?         20   contacts were before you were assigned to them?
21      A. Yes.                                          21      A. At Planned Parenthood.
22      Q. Did she ask you to discuss Matt,              22      Q. Planned Parenthood first.
23   Joanna and Jada leaving?                            23      A. Jada and Joanne.
24      A. No.                                           24      Q. How did you find that out?
25      Q. Let's talk about Planned Parenthood a         25      A. Amy.
                                               Page 35                                                    Page 37
 1   little bit.                                          1      Q. Did she just say these are -- well,
 2           In paragraph -- sorry. Let me back up        2   who -- of Jada or Joanne, both of them or just
 3   a moment.                                            3   one of them?
 4           Before -- sorry. A few things. One:          4      A. I don't recall. I think it was both.
 5   Had Lynn given you clients before that call?         5      Q. And did you also find out who the
 6       A. Lynn?                                         6   person at Planned Parenthood that was their
 7       Q. Cory Lynn gave you these two                  7   contact was at the same time?
 8   clients -- sorry. Cory and Amy gave you these        8      A. Yes.
 9   two clients?                                         9      Q. And did you learn anything else about
10       A. Correct.                                     10   the nature of the relationship between Jada and
11       Q. Had you been given any clients by Cory       11   Joanne and the contact at Planned Parenthood?
12   or Amy before then?                                 12      A. There was a -- somebody's daughter --
13       A. I inherited one that -- called KLX,          13   one of them's daughter worked at Planned
14   that --                                             14   Parenthood.
15           MR. WEBER: Don't mention the names of       15      Q. So you knew that there was some kind
16       any clients.                                    16   of personal relationship as well?
17           MR. SIEGEL: Except Planned                  17      A. Yes.
18       Parenthood.                                     18      Q. Did you discuss with anyone at Mercer
19       A. Yes.                                         19   potential challenges in retaining Planned
20       Q. And when was that client given to you?       20   Parenthood as a client?
21       A. It's been -- let's see. It's been one        21      A. Yes.
22   year now. When I first came. So about a year.       22      Q. Who did you discuss that with?
23       Q. Do you know why that client was given        23      A. Amy.
24   to you?                                             24      Q. What was that conversation about?
25       A. Yes.                                         25      A. That it's going to be difficult
                                                                                            10 (Pages 34 - 37)
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                                             Page 38                                                 Page 40
 1   because of their relationship, long-term after    1       MR. WEBER: Excuse me. For the
 2   the contract was up.                              2 record. Your colleagues objected to any
 3       Q. When did you have that conversation?       3 discussion about compensation, et cetera,
 4       A. I think it was in the e-mail, just         4 et cetera. So if you want to go back and
 5   advising me. Yeah.                                5 take their depositions, we better do that
 6       Q. Did you do anything else after that        6 tonight. We're not going to talk about
 7   e-mail to educate yourself as to Planned          7 damages here.
 8   Parenthood?                                       8       Do you want to change your -- get your
 9       A. I tried to establish a meeting with        9 clients back here, Marty? I'm enjoying
10   them of which it was scheduled, then later       10 Florida so I --
11   canceled.                                        11       MR. SIEGEL: I'll check on it.
12       Q. Did you do anything else to, I guess,     12       MR. WEBER: Particularly with the
13   look up on the system information you had about 13 weather coming in to New York.
14   it?                                              14       MR. SIEGEL: We'll reserve.
15       A. Yes.                                      15       MR. THUMIM: Let's shelve this for
16       Q. What did you do?                          16 now.
17       A. Tried to find out what their plans        17 Q. What services did Mercer provide for
18   were, tried to find out who their carriers were. 18 Caregiver Services?
19       Q. And what services did Mercer provide 19 A. Or do they?
20   for Planned Parenthood?                          20 Q. Do they?
21       A. Health and welfare consulting.            21 A. Health and welfare consulting.
22       Q. Do you know if Planned Parenthood uses 22 Q. Do you know if Caregiver Services uses
23   any other company to -- at the time used any     23 any other company to provide services that
24   other company to provide services?               24 Mercer also provides?
25       A. I don't know that.                        25 A. I don't believe they do.
                                             Page 39                                                 Page 41
 1 Q. Do you know if Planned Parenthood                 1      Q. Do you know if Caregiver Services has
 2 files an IRS Form 5500?                              2   to file an IRS 5500?
 3 A. They're probably nonprofit, so                    3      A. Yes.
 4 probably not. I didn't look.                         4      Q. Do you know how Planned Parenthood
 5 Q. Do you know how much revenue Mercer               5   originally became a Mercer client?
 6 received annually from Planned Parenthood?           6      A. No.
 7        MR. WEBER: Objection. Don't answer.           7      Q. Do you know -- let's move on to the
 8        MR. THUMIM: Sorry?                            8   next paragraph.
 9        MR. WEBER: Don't answer.                      9           Paragraph 5 you said you exchanged
10        MR. THUMIM: It's Planned                     10   emails with the COO of Planned Parenthood.
11 Parenthood -- it's relevant to your damages         11           That's the person that, as you
12 claims. This is a client that actually              12   understood it, had the close personal
13 left.                                               13   relationship with Steed, right?
14        MR. WEBER: We're not at the damages          14      A. I don't know. I just know that she
15 level yet.                                          15   had a -- one of them had a daughter that worked
16        MR. THUMIM: I understand that, but           16   there, but I don't know what the relationship
17 it's relevant to claims in your complaint.          17   with the COO is.
18        MR. WEBER: It's not related to the           18      Q. Prior to -- this is a January 22nd
19 preliminary injunction. It's related to             19   e-mail, had you ever had any contact with this
20 damages.                                            20   person before?
21        MR. THUMIM: I understand that, but           21      A. No.
22 that --                                             22      Q. What did you say in your initial
23        MR. WEBER: If you want to get into           23   e-mail?
24 damages, then we'll have to go back and --          24           Did you initially reach out to them or
25        MR. THUMIM: What's --                        25   did they e-mail you?
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                                                Page 42                                                     Page 44
 1      A. I reached out to them.                          1       A. That they wanted another -- I don't
 2      Q. And what did you say in your initial            2   know, I think it was their CFO, I don't recall,
 3   e-mail?                                               3   wanted them to join the meeting and he wasn't
 4      A. That myself and my team were going to           4   available.
 5   be managing their account moving forward and          5       Q. Between that and the February 22nd
 6   would like to set up a meeting.                       6   e-mail, which is attached to your declaration,
 7      Q. You knew to e-mail the COO because Amy          7   did you have any other contact with them?
 8   gave you that person's information?                   8       A. No.
 9      A. Correct.                                        9       Q. So the only previous contact you had
10      Q. Do you have any understanding as to            10   with Rowena was to schedule the February 6
11   who the person at Planned Parenthood is that has     11   meeting?
12   decision-making power?                               12       A. Correct.
13      A. No.                                            13       Q. Do you know who at Planned Parenthood
14      Q. Given that you attached to your                14   made the decision as to which broker to use?
15   declaration the February 22nd e-mail, is there       15       A. I don't know. The letter came from
16   any reason you didn't attach this e-mail             16   Rowena. But I don't know who made the decision.
17   exchange with the COO?                               17       Q. What did you do in response to getting
18      A. No. The only thing I had with the COO          18   this e-mail?
19   was to set up a meeting. So there's no reason        19       A. I said, thank you very much and let us
20   other than -- there's no information other than      20   know if we need anything to help with the
21   we're going to set up this meeting.                  21   transition.
22      Q. Did you mention Matt, Joanne or Jada           22       Q. Did you talk to anyone at Mercer about
23   in that e-mail?                                      23   it?
24      A. No.                                            24       A. I think I -- I think I sent an e-mail
25      Q. Did you mention Lockton in that                25   to the Sunrise office. I sent an e-mail to the
                                                Page 43                                                     Page 45
 1   e-mail?                                               1   Sunrise office just advising them that --
 2      A. No.                                             2   actually, no. They sent one to me saying a
 3      Q. So how did you schedule the e-mail --           3   carrier contacted them and received a BOR, and I
 4   sorry, how did you schedule the meeting for           4   acknowledged it and said, yes, I just got that
 5   February 6th?                                         5   from the client as well.
 6      A. Rowena Geisler at Planned Parenthood            6      Q. Did anyone from Planned Parenthood
 7   set up an Outlook calendar meeting.                   7   ever tell you why they left Mercer?
 8      Q. Was Rowena also on the e-mail chain             8      A. No.
 9   you had with the COO?                                 9      Q. So ultimately you don't really know
10      A. No. She forwarded it, I believe.               10   exactly why they switched?
11      Q. Where was the meeting supposed to take         11      A. No.
12   place?                                               12      Q. Then you made a February 23rd call to
13      A. At Planned Parenthood.                         13   a carrier. Who did you call?
14      Q. When did they first reschedule?                14      A. Actually, I was already on the phone
15          It says that they rescheduled to              15   with Lincoln Mutual and they had -- the carrier,
16   February 27, but it doesn't say when they            16   so I just happened to ask them while we were on
17   rescheduled. If you recall.                          17   the phone if they knew where they went since
18          Was it days before the February 6             18   they were the carrier of Planned Parenthood.
19   meeting? Was it a week before?                       19      Q. Why did you ask?
20      A. Actually, I think it was like a day            20      A. Curious.
21   before. Actually, it was, because I was              21      Q. What did they say?
22   actually already down in South Florida. So it        22      A. Lockton.
23   was the day before.                                  23      Q. So let's move on to something else.
24      Q. Did they give a reason for                     24          Do you sometimes get recruiters about
25   rescheduling it?                                     25   other job opportunities?

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 1      A. Yes.                                       1       Q. After you moved to Willis, did you
 2      Q. How often, roughly?                        2    have any contact with any clients that had been
 3      A. A couple times a year.                     3    Marsh clients when you were at Marsh?
 4      Q. Have you ever discussed job                4       A. No.
 5   opportunities with any other employees at        5       Q. When you went, I guess, from Willis to
 6   Mercer?                                          6    IOA or being your own employee or doing work
 7      A. No.                                        7    with IOA, after you went -- after you left
 8      Q. Have you ever discussed the                8    Willis did you have any contact with clients
 9   possibility of leaving Mercer with anybody else 9     that had been clients of Willis when you were at
10   at Mercer?                                      10    Willis?
11      A. No.                                       11       A. Yes.
12      Q. If you left, would the consultant you     12       Q. And who did -- how many clients did
13   work with be significantly impacted?            13    you initiate contact with?
14          MR. WEBER: Objection, speculative.       14       A. I didn't initiate. We were personal
15          Don't answer.                            15    friends.
16          MR. THUMIM: I mean, she can -- she       16       Q. So how many clients are we talking
17      knows the consultant's role.                 17    about then?
18      Q. How would the consultant be affected      18       A. Two.
19   if you left?                                    19       Q. Two clients.
20          MR. WEBER: Speculative. Objection. 20                 Are those clients that had been Willis
21      Q. You can answer.                           21    clients but you had personal relationships with?
22          MR. WEBER: You can answer if you can.22               MR. WEBER: Objection to form.
23      A. She would acquire -- she would work       23       A. Right.
24   under another lead consultant.                  24       Q. Did you retain any contact
25      Q. If you were at some point decided to      25    information -- any contact list that you put
                                              Page 47                                               Page 49
 1   leave, would you give the consultant a heads up? 1    together while you were at Willis when you left?
 2       A. Yes.                                       2      A. Can you restate that?
 3       Q. Are you aware of any two-week notice       3      Q. I guess any contact information that
 4   requirement to leave Mercer?                      4   you had about, I guess, Willis clients or that
 5       A. Yes.                                       5   you had -- you know, a contact list you had
 6       Q. Are you aware of anywhere where it's       6   developed while at Willis, did you take any of
 7   written down?                                     7   that information with you when you left Willis?
 8       A. No.                                        8      A. Yes.
 9       Q. Do you know other people, I guess,         9      Q. What information did you take with
10   with a similar job titles and roles to Matt,     10   you?
11   Joanne or Jada who left Mercer within the last 11        A. Name, address, same would be in my
12   two years?                                       12   contact.
13       A. No. Because I've only been there a        13      Q. The two clients that you had personal
14   little over a year.                              14   relationships with you, did they leave Willis to
15       Q. Do you know any new principals who        15   become clients of yours?
16   joined Mercer from other brokers within the past 16      A. Not until my noncompete was up.
17   few years?                                       17      Q. That's the next question.
18       A. Yep. Matt -- well, actually, no. He       18          Did you have a noncompete of some
19   was at Mercer just a different office, so no.    19   kind?
20       Q. So go back through your employment        20      A. Yes.
21   history a little bit. Just a couple of           21      Q. And how long did it run for?
22   follow-up questions on that.                     22      A. Two years.
23           So when you went from Marsh to Willis 23         Q. So those two clients that you had
24   in 2005, a very long time ago.                   24   personal relationships with did not come over
25       A. Yes.                                      25   for those two years?
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 1      A. Correct.                                        1      A. Additional contact.
 2      Q. Did you also have a confidentiality             2      Q. With who?
 3   agreement with Willis?                                3      A. With the client.
 4      A. Yes.                                            4      Q. Were you also barred in any way in a
 5      Q. Before coming from IOA -- or to                 5   nonsolicitation from reaching out to not just
 6   Mercer -- I'll ask you this.                          6   actual clients of Willis but prospective clients
 7          When you were working yourself but I           7   of Willis?
 8   guess in conjunction with IOA, did you also have      8      A. Not knowingly, no.
 9   some kind of nonsolicitation agreement with IOA?      9      Q. Did you find out about any prospective
10      A. Yes and no. No if I brought the                10   clients at Willis that you then reached out to
11   client to them. Yes if it was a referral from        11   after leaving Willis?
12   like a property and casualty salesperson.            12      A. I'm sorry, say that again.
13      Q. Did you have clients that fell into            13      Q. While you were at Willis, did you find
14   that second category required by --                  14   out about any potential -- prospective clients,
15      A. Yes.                                           15   not actual Willis clients, but Willis maybe
16      Q. -- the NSA?                                    16   wanted to pitch to that you then reached out to
17          Before coming to Mercer, you said that        17   after you left Willis?
18   Cory Lynn hired you. Did you have any                18      A. I wouldn't know who all Willis is
19   conversations with Cory about a book of              19   going after, so no, not knowingly.
20   business?                                            20          MR. WEBER: I'll object to the line of
21      A. Yes.                                           21      questioning. It's really far afield.
22      Q. And did you have any conversation in           22      Q. While you were at IOA did you have any
23   which anyone at Mercer expressed an expectation      23   prospective clients that you were -- that you
24   of how many clients might follow you to Mercer?      24   aware you were trying to reach out to, let's
25      A. Yes.                                           25   say?
                                                Page 51                                                  Page 53
 1      Q. Have you -- were you ever sued by               1       A. Did I have prospective clients while I
 2   Willis?                                               2   was at IOA? Yes.
 3      A. No.                                             3       Q. Do you know if your nonsolicitation
 4      Q. Were you ever sued by IOA?                      4   agreement covered any prospective clients of
 5      A. No.                                             5   IOA?
 6           MR. THUMIM: I think we can take a             6       A. I don't know.
 7      short break at this point.                         7       Q. Did IOA send you a letter?
 8      Q. Did you ever receive a letter from              8       A. No.
 9   Willis?                                               9       Q. Caregiver Services, you're not aware
10      A. Yes.                                           10   of any contact that entity had with Matt, Joanne
11      Q. What letter did you receive from               11   or Jada after they left, are you?
12   Willis?                                              12           MR. WEBER: Objection to the form.
13      A. It was a letter stating that I should          13           You can answer if you know.
14   not reach out to a client.                           14       Q. Are you aware of any contact that --
15      Q. Did you receive any letter from Willis         15       A. Yes.
16   that addressed contact information you might         16       Q. Are you aware that they had any or did
17   have taken with you?                                 17   not have any?
18      A. Yes.                                           18       A. That they did.
19      Q. What did that letter say?                      19       Q. And how did you find that out?
20      A. Just said that it's violation and              20       A. I met with the team at Caregiver
21   cease and assist.                                    21   Services. They told me that Matt had reached
22      Q. What did you do in response to that            22   out and told them they had left. I don't know
23   letter?                                              23   if that's a personal -- a face-to-face meeting
24      A. Didn't pursue it.                              24   or telephonic.
25      Q. Didn't pursue what?                            25       Q. When did you meet with Caregiver
                                                                                           14 (Pages 50 - 53)
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                                              Page 54                                                 Page 56
 1   Services?                                           1      A. I think it was just Tom Hoyer.
 2      A. I would have to look. About six weeks         2      Q. Tom?
 3   ago.                                                3      A. Yes.
 4      Q. How did it come up that they had heard        4      Q. Last name?
 5   from Matt and Matt had left?                        5      A. Hoyer. The CFO.
 6      A. I had met them for the first time. I          6      Q. Did Tom or anyone else from Caregivers
 7   said, As you're aware, the team had left. And       7   mention if anyone other than Matt had reached
 8   they said, Yes, Matt had reached out to us and      8   out to them?
 9   apparently they went to Lockton.                    9      A. No.
10      Q. Did they say whether Matt asked them         10      Q. Did he mention when Matt reached out
11   to take business away from Mercer?                 11   to him?
12      A. No.                                          12      A. No.
13      Q. Did they say that Matt -- they didn't        13          MR. WEBER: No questions.
14   say that Matt told them to bring business to       14             REDIRECT EXAMINATION
15   Lockton?                                           15   BY MR. THUMIM:
16          MR. WEBER: Objection to the form.           16      Q. One or two follow-up questions.
17      A. No.                                          17          Did they say whether Matt reached out
18      Q. So why isn't that contact in your            18   to them directly or were there -- did they
19   declaration?                                       19   specify whether it could have been a mass e-mail
20          MR. WEBER: Objection to the form.           20   or direct --
21          You can answer if you can.                  21      A. They did not. We just moved on from
22      Q. You mentioned in your declaration            22   the meeting after that.
23   contact with Planned Parenthood. You don't         23      Q. So there's nothing they said to
24   mention Caregiver Services having had contact      24   indicate that it wasn't necessarily some generic
25   with Matt, Joanne or Jada.                         25   announcement?
                                              Page 55                                                 Page 57
 1          Is there any reason that you don't           1 A. Correct.
 2   mention it?                                         2 Q. They didn't say he reached out
 3      A. No. I shared this.                            3 directly personally?
 4          (Recess.)                                    4 A. Correct.
 5          MR. THUMIM: We have no further               5        MR. THUMIM: No further questions.
 6      questions.                                       6        MR. WEBER: No further.
 7              CROSS-EXAMINATION                        7        (Witness requests reading of
 8   BY MR. WEBER:                                       8 transcript.)
 9      Q. You mentioned contact with Caregiver          9        (Deposition concluded at 2:50 p.m.)
10   Services, correct?                                 10
11      A. Yes.                                         11
12      Q. You just testified about that.               12
13          You spoke to individuals at that            13
14   entity, did you not?                               14
15      A. Correct.                                     15
16      Q. What did they tell you about any             16
17   contact they received from Matt DiGregorio or      17
18   Jada Preston or Joanne Steed?                      18
19      A. I asked them if they are aware the           19
20   team had left, which they knew that was the        20
21   purpose of the meeting. They said, yes, that       21
22   Matt had reached out and told them that they       22
23   were at Lockton.                                   23
24      Q. Matt reached out to individuals at           24
25   Caregiver?                                         25
                                                                                         15 (Pages 54 - 57)
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                                                 Page 58                                                                        Page 60
 1 RE:    Mercer Health Benefits, LLC v. Matthew                             1       CERTIFICATE OF OATH OF WITNESS
   DiGregorio, et al.                                                        2
 2 DEPO OF: Melanie Fava                                                     3 STATE OF FLORIDA              )
   TAKEN: March 12, 2018
 3
                                                                                                ) SS.
 4             EXCEPT FOR ANY CORRECTIONS                                    4 COUNTY OF MIAMI-DADE )
               MADE ON THE ERRATA SHEET BY                                   5
 5             ME, I CERTIFY THIS IS A TRUE                                  6    I, Carol Hill Weng, FPR, RMR, CRR, CMRS, CRI, CPE,
               AND ACCURATE TRANSCRIPT.                                      7 Notary Public in and for the State of Florida at Large,
 6             FURTHER DEPONENT SAITH NOT.                                   8 certify that the witness, Melanie Fava, personally
 7             ____________________________                                  9 appeared before me on March 12, 2018, and was duly
               Melanie Fava
                                                                            10 sworn by me.
 8
 9 STATE OF FLORIDA )                                                       11    WITNESS my hand and official seal this March 14,
               ) SS:                                                        12 2018.
10 COUNTY OF MIAMI-DADE )                                                   13
11      Sworn and subscribed to before me this                              14
12 __________ day of ___________________, 2018.                                     <%Signature%>
13 PERSONALLY KNOWN __________ or I.D.______________                        15     ____________________________________________
14
                                                                                   Carol Hill Weng, FPR, RMR, CRR, CMRS,
15             ____________________________
               Notary Public in and for                                     16     CRI, CPE
16             the State of Florida at                                             Notary Public, State of Florida at Large
               Large.                                                       17
17                                                                          18 Notary No.: FF 958116
18 My commission expires:                                                   19 My Commission Expires: March 4, 2020
19                                                                          20
20
                                                                            21
21
22
                                                                            22
23                                                                          23
24                                                                          24
25                                                                          25
                                                                  Page 59                                                       Page 61
 1             ERRATA SHEET                                                  1      REPORTER'S DEPOSITION CERTIFICATE
 2 RE:    Mercer Health Benefits, LLC v. Matthew                             2
   DiGregorio, et al.
                                                                             3       I, Carol Hill Weng, FPR, RMR, CRR, CMRS, CPE, CRI,
 3 DEPO OF: Melanie Fava
                                                                             4   certify that I was authorized to and did
   TAKEN: March 12, 2018
 4                                                                           5   stenographically report the deposition of Melanie Fava,
 5   DO NOT WRITE ON TRANSCRIPT. ENTER ANY CHANGES HERE                      6   the witness herein on March 12, 2018; that a review of
 6   Page #| Line #| Change      | Reason                                    7   the transcript was requested; that the foregoing pages
 7   _______| ______| ____________________|____________                      8   are a true and complete record of my stenographic notes
 8   _______| ______| ____________________|____________                      9   of the deposition of said witness; and that this
 9   _______| ______| ____________________|____________
                                                                            10   computer-assisted transcript was prepared under my
10   _______| ______| ____________________|____________
11   _______| ______| ____________________|____________
                                                                            11   supervision.
12   _______| ______| ____________________|____________                     12       I further certify that I am not a relative,
13   _______| ______| ____________________|____________                     13   employee, attorney or counsel of any of the parties,
14   _______| ______| ____________________|____________                     14   nor am I a relative or employee of any of the parties'
15   _______| ______| ____________________|____________                     15   attorney or counsel connected with the action.
16   _______| ______| ____________________|____________
                                                                            16       DATED this March 14, 2018.
17   _______| ______| ____________________|____________
                                                                            17
18   _______| ______| ____________________|____________
19   _______| ______| ____________________|____________
                                                                            18      <%Signature%>
20   _______| ______| ____________________|____________                             ______________________________________
21   State of Florida)                                                      19      Carol Hill Weng, FPR, RMR, CRR
     County of      )                                                               CMRS, CPE, CRI
22                                                                          20
   Under penalties of perjury, I declare that I have read
                                                                            21
23 by deposition transcript, and it is true and correct
                                                                            22
   subject to any changes in form or substance entered
24 here.
                                                                            23
   ________________ _______________________________                         24
25 Date       Melanie Fava                                                  25

                                                                                                                 16 (Pages 58 - 61)
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   #)$ >IYMIZ. ?WEWIPIQW RJ 1LEQKIV' <Q UITXIVW F[ WLI

   HISRQIQW RU E SEUW[ FIJRUI WLI HISRVMWMRQ MV

   GRPSOIWIH% WLI HISRQIQW PXVW FI EOORZIH +( HE[V

   EJWIU FIMQK QRWMJMIH F[ WLI RJJMGIU WLEW WLI

   WUEQVGUMSW RU UIGRUHMQK MV EYEMOEFOI MQ ZLMGL-

   #/$ WR UIYMIZ WLI WUEQVGUMSW RU UIGRUHMQK. EQH

   #0$ MJ WLIUI EUI GLEQKIV MQ JRUP RU VXFVWEQGI% WR

   VMKQ E VWEWIPIQW OMVWMQK WLI GLEQKIV EQH WLI

   UIEVRQV JRU PENMQK WLIP'

   #*$ 1LEQKIV 7QHMGEWIH MQ WLI <JJMGIU"V 1IUWMJMGEWI'

   @LI RJJMGIU PXVW QRWI MQ WLI GIUWMJMGEWI SUIVGUMFIH

   F[ >XOI +(#J$#)$ ZLIWLIU E UIYMIZ ZEV UITXIVWIH

   EQH% MJ VR% PXVW EWWEGL EQ[ GLEQKIV WLI HISRQIQW

   PENIV HXUMQK WLI +(&HE[ SIUMRH'




   27?18/793>-      @63 4<>35<7;5 4323>/8 =><132A>3 >A83?

   />3 =><B7232 4<> 7;4<>9/@7<;/8 =A>=<?3? <;8D'

   @63 /0<B3 >A83? />3 1A>>3;@ /? <4 ?3=@3903> )%

   *(),'    =83/?3 >343> @< @63 /==871/083 4323>/8 >A83?

   <4 17B78 =><132A>3 4<> A=&@<&2/@3 7;4<>9/@7<;'
 Case 1:18-cv-01805-JGK Document 38-3 Filed 03/15/18 Page 28 of 28

               @1<5>1A> 613-6 =96?>598=
     /97;-8B /1<>525/->1 -80 05=/69=?<1 =>->1718>

@GRKTGXT 6GICL =OLUTKONS RGPRGSGNTS TJCT TJG
HORGIOKNI TRCNSERKPT KS C TRUG& EORRGET CNF EOMPLGTG
TRCNSERKPT OH TJG EOLLOQUKGS& QUGSTKONS CNF CNSWGRS
CS SUDMKTTGF DY TJG EOURT RGPORTGR( @GRKTGXT 6GICL
=OLUTKONS HURTJGR RGPRGSGNTS TJCT TJG CTTCEJGF
GXJKDKTS& KH CNY& CRG TRUG& EORRGET CNF EOMPLGTG
FOEUMGNTS CS SUDMKTTGF DY TJG EOURT RGPORTGR CNF)OR
CTTORNGYS KN RGLCTKON TO TJKS FGPOSKTKON CNF TJCT
TJG FOEUMGNTS WGRG PROEGSSGF KN CEEORFCNEG WKTJ
OUR LKTKICTKON SUPPORT CNF PROFUETKON STCNFCRFS(

@GRKTGXT 6GICL =OLUTKONS KS EOMMKTTGF TO MCKNTCKNKNI
TJG EONHKFGNTKCLKTY OH ELKGNT CNF WKTNGSS KNHORMCTKON&
KN CEEORFCNEG WKTJ TJG RGIULCTKONS PROMULICTGF UNFGR
TJG 4GCLTJ 5NSURCNEG ;ORTCDKLKTY CNF -EEOUNTCDKLKTY
-ET $45;--%& CS CMGNFGF WKTJ RGSPGET TO PROTGETGF
JGCLTJ KNHORMCTKON CNF TJG 3RCMM'6GCEJ'.LKLGY -ET& CS
CMGNFGF& WKTJ RGSPGET TO ;GRSONCLLY 5FGNTKHKCDLG
5NHORMCTKON $;55%( ;JYSKECL TRCNSERKPTS CNF GXJKDKTS
CRG MCNCIGF UNFGR STRKET HCEKLKTY CNF PGRSONNGL CEEGSS
EONTROLS( 1LGETRONKE HKLGS OH FOEUMGNTS CRG STORGF
KN GNERYPTGF HORM CNF CRG TRCNSMKTTGF KN CN GNERYPTGF
HCSJKON TO CUTJGNTKECTGF PCRTKGS WJO CRG PGRMKTTGF TO
CEEGSS TJG MCTGRKCL( 9UR FCTC KS JOSTGF KN C >KGR +
==-1 *, EGRTKHKGF HCEKLKTY(

@GRKTGXT 6GICL =OLUTKONS EOMPLKGS WKTJ CLL HGFGRCL CNF
=TCTG RGIULCTKONS WKTJ RGSPGET TO TJG PROVKSKON OH
EOURT RGPORTKNI SGRVKEGS& CNF MCKNTCKNS KTS NGUTRCLKTY
CNF KNFGPGNFGNEG RGICRFLGSS OH RGLCTKONSJKP OR TJG
HKNCNEKCL OUTEOMG OH CNY LKTKICTKON( @GRKTGXT RGQUKRGS
CFJGRGNEG TO TJG HORGIOKNI PROHGSSKONCL CNF GTJKECL
STCNFCRFS HROM CLL OH KTS SUDEONTRCETORS KN TJGKR
KNFGPGNFGNT EONTRCETOR CIRGGMGNTS(

5NQUKRKGS CDOUT @GRKTGXT 6GICL =OLUTKONS#
EONHKFGNTKCLKTY CNF SGEURKTY POLKEKGS CNF PRCETKEGS
SJOULF DG FKRGETGF TO @GRKTGXT#S /LKGNT =GRVKEGS
-SSOEKCTGS KNFKECTGF ON TJG EOVGR OH TJKS FOEUMGNT OR
CT WWW(VGRKTGXT(EOM(
